    Case 24-15472-JNP             Doc 25     Filed 06/21/24 Entered 06/21/24 08:32:12            Desc Main
                                             Document     Page 1 of 3
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Caption in Compliance with D.N.J. LBR 9004-1(b)

Gorski & Knowlton PC
By: Carol L. Knowlton, Esquire                                             Order Filed on June 21, 2024
311 Whitehorse Ave, Suite A                                                by Clerk
                                                                           U.S. Bankruptcy Court
Hamilton, New Jersey 08610                                                 District of New Jersey
(609) 964-4000
(609) 528-0721 - facsimile
cknowlton@gorskiknowlton.com
Attorneys for Debtor(s)




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,Q5H

PV Pets, LLC                                                                            11
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                                                           -XGJH         Jerrold N. Poslusny, Jr.
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                            ORDER SHORTENING TIME PERIOD FOR NOTICE,
                              SETTING HEARING AND LIMITING NOTICE


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      DATED: June 21, 2024
     Case 24-15472-JNP              Doc 25    Filed 06/21/24 Entered 06/21/24 08:32:12               Desc Main
                                              Document     Page 2 of 3


                                              Gorski & Knowlton, Attorneys for Debtor
         $IWHUUHYLHZRIWKHDSSOLFDWLRQRIBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBIRUWKHUHGXFWLRQRI
                       Motion against Highland Hill Capital and Mynt Advance for willful violation
WLPHIRUDKHDULQJRQBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
of automatic stay provisions of 11 U.S.C. §362(a)
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                                                                  June 25, 2024              2:00PM
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                                             400 Cooper Street, 4th Floor, Camden, NJ 08101
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 Overnight (email w consent) on creditors related to the motion.
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Case 24-15472-JNP         Doc 25     Filed 06/21/24 Entered 06/21/24 08:32:12                Desc Main
                                     Document     Page 3 of 3


   $Certification of ServicePXVWEHILOHGSULRUWRWKHKHDULQJGDWH


   $Q\REMHFWLRQVWRWKHPRWLRQDSSOLFDWLRQLGHQWLILHGDERYH

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